 

n n f U.S.DHSTRICTCOURT v -
\, C&@el§&(?$jpr£)OlBZN DOCument 146 Filed 08/07/08 PHQBL}U{NDM{D`GBTEXAS
f :` 15 FILED ` i`*’»`:`

 

IN THE UNITED STATES DISTRICT COURT -” y
FOR THE NORTHERN DISTRICT OF l`EXAS uf ~" `{ w

 

 

 

 

 

 

 

DALLAS DIVIsIoN
fisanch coURT
UNITED sTATEs oF AMERICA ) y newly " ‘
)
vs. ) CASE No.; 3;08-CR-152-N (12)
)
LAKENDRA IRENE AvERY )

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

Lakendra Irene Avery, by consent, under authority of United States v. Dees, 125 F.3d 26l
(5“‘ Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. ll, and has entered a plea Of
guilty to Count(s) l of the Superseding Information. After cautioning and examining the defendant
under oath concerning each of the subjects mentioned in Rule ll, l determined that the guilty plea
Was knowledgeable and voluntary and that the offense(s) charged is supported by an independent
basis in fact containing each of the essential elements of such offense. I therefore recommend that
the plea of guilty be accepted, and that Defendant be adjudged guilty and have sentence imposed

accordingly.

Date: August :Z ,2008.

 

UNITED STATES MAG TRATE?U§

NOTICE

Failure to file Written objections to this Report and Recommendation Within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. §636(b)(l)(B).

